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                  EXHIBIT B-093
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                   IN THE SUPERIOR COURT OF FULTON COUNTY

                                     STATE OF GEORGIA


INRE:                                         )
SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                              )
In the Matter of Witness                      )       Judge Robert C. I. McBurney
Willie Lewis Floyd III                        )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant

to the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

           related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that Willie Lewis Floyd III, also known

    as Harrison William Prescott Floyd III, born November 9, 1984, (hereinafter, "the

    Witness") is a necessary and material witness to the Special Purpose Grand Jury's

    investigation. The Court fmiher finds that the Witness currently resides in Adelphi,

    Prince George's County, Mary land.

 4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that in the months leading up to the

    November 2020 election in Georgia, the Witness was a director of Black Voices for

    Trump, a coalition between the Trump Campaign and others aimed at increasing

    former President Trump's support among Black voters.

 17. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that on or about December 21, 2021,

    the Witness stated to Reuters that sometime after the November 2020 election, the

    Witness was asked by an unidentified man, described by the Witness as a chaplain
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    with federal law enforcement connections, to arrange a meeting with Ruby Freeman,

    a Fulton County election worker who had been publicly accused of committing

    election fraud by individuals associated with the Trump Campaign. According to the

    Witness, the purpose of the meeting was to discuss a purported "immunity deal" with

    Freeman. The Witness then arranged for Trevian Kutti, a purported publicist based in

    Chicago, Illinois, to meet with Freeman.

 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Special Purpose Grand Jury's

    investigation has revealed that on January 4, 2021, Kutti traveled from Chicago to

    Freeman's home in Georgia to attempt to meet with her. Freeman initially declined to

    meet with Kutti, but the two subsequently met that evening at a Cobb County Police

    Department precinct after Cobb County Police Department officers responded to

    Freeman's home. The District Attorney has reviewed video footage showing that

    prior to the meeting, Kutti made statements to Freeman via telephone indicating that

    "an armed squad of federal" officers would "approach" Freeman and her family

    within 48 hours and that Kutti had access to "very high-profile people that can make

    particular things happen ... in order to defend yourself and your family."

 6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that during the meeting at the Cobb

    County Police Department, which was captured in part on body worn camera footage

    reviewed by the District Attorney, Kutti made similar statements, indicating to
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    Freeman that her "freedom ... and the freedom of one or more of your family

    members" would be disrupted if Freeman declined her assistance and that Freeman

    was "a loose end for a party that needs to tidy up." Kutti also stated her intent to

    connect Freeman with the Witness, referring to him as "a Black progressive crisis

    manager, very high level, with authoritative powers to get you protection that you

    need." After making these statements, Kutti made a lengthy telephone call to the

    Witness on speakerphone so that he could join in the conversation with Freeman.

    During the telephone conversation, in the presence of the Witness, Freeman was

    pressured to reveal information under the threat of incarceration if she did not

    comply.

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that based on information received by

    the Special Purpose Grand Jury, the Witness appears to have been the primary person

    responsible for putting Kutti in touch with Freeman in order to facility these

    conversations.

 8. Based on the representations made by the State in the attached "Petition for

    Ce1ii:ficationof Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness, based on his

    relationship with and knowledge of Trevian Kutti, is a necessary and material

    witness. The Witness possesses unique knowledge concerning the substance of

    Kutti's conversations with Ruby Freeman, the circumstances surrounding his decision

    to connect Kutti with Freeman, the logistics of setting up the meeting between Kutti
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    and Freeman, and any communications between himself, others involved in the

    planning and execution of the meeting, the Trump Campaign, and other known and

    unknown individuals involved in the multi-state, coordinated efforts to influence the

    results of the November 2020 election in Georgia and elsewhere. Finally, the

    Witness's anticipated testimony is essential in that it is likely to reveal additional

    sources of information regarding the subject of this investigation.

 9. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 10. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Wednesday, September 28, 2022, at 9:00 a.m., at the Superior

    Court of Fulton County, Fulton County Courthcmse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney anticipates that the

    Witness's testimony will not exceed one day.

 11. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 12. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states, while

    traveling to and from this Court for the purpose of testifying for this case.
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       13. The State of Georgia is a participant in a reciprocal program providing for the

           securing of witnesses to testify in foreign jurisdictions which likewise provide for

           such methods of securing witnesses to testify in their courts.

       14. This Certificate is made for the purpose of being presented to a judge Circuit Court

           for Prince George's County, Seventh Judicial Circuit, Maryland, by the State's

           Attorney for Prince George's County or her duly authorized representative, who is

           proceeding at the request and on behalf of the Office of the Fulton County District

           Attorney.

      WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,

      This the   C____
                    day of September, 2022.




                                                                           c urncy
                                                     Superior Court of Fulton County
                                                     Atlanta Judicial Circuit
                                                     State of Georgia
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                     Exhibit A
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                   IN THE SUPEJRIOR COURT OF FULTON COUNTY
                           ATLANTA JUDICIAL CIRCUIT
                               STA TE OF GEORGIA
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IN RE: REQUEST lFOR
       SPECIAL PURPOSE
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       GRAND JURY                                                  L ..
               ORDER APPROVING REQUEST FOR SPECIAL._P_UR_P_O_S_E                         ·---·-o
                GRAND JURY PURSUANT TO O.C.G.A. ~15-12-100, et seq.

       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the

Superior Comt of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-I00(b).

       IT IS THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12-62.1, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge detennines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attomey referenced herein above.

       Pursuant to O.C.G.A. § 15-12-101(a), the Honorable Robert C. I. McBumey is hereby

assigned to supervise and assist the special purpose grand jury, and shall charge said special

purpose grand jury and receive its reports as provided by law.
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       This authorization shall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jury's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of the COVID-19 Pandemic.

        IT IS FURTHER O,.-~.,_,.D that this Order shal1 be filed in the Office of the Clerk of
                                    . r---.._____
                                    '·--.~    "',
the Superior Court of Fulto Coun~.ii\          \ ..

        SO ORDERED, TH'(_)--'-\          A\         ~(;w""'"'l            ,2022.



                               ~-,,il'
                               CHRISTOPRER S. BRASHER~IEF
                               Superior Courtof FultonCounty
                                                                         JUDGE

                               Atlanta Judicial Circuit
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                        Exhibit B
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                        OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                     ATLANTAJUDICIALCfRCUIT
                                  136 PRYORSTREETSW,3RDFLOOR
                                       ATLANTA,GEORGLA30303
!!if;',llJr'(J}j./&,j                                          TELEPHONE404-612-4639
DistrictArcorney



     The Honorable Christopher S. Brasher
                                                                                t D:L2-·-EX- DODDI7
     Chief Judge, Fulton County Superior Court                                    FILED IN OFFICE
     Fulton County Courthouse                                                                             JJ
     185 Central Avenue SW, Suite T-8905
     Atlanta, Georgia 30303

      January 20, 2022

      Dear Chief Judge Brasher:

      I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
      Office has received information indicating a reasonable probability that the State of Georgia's
      administration of elections in 2020, including the State's election of the President of the United
      States, was subject to possible criminal disruptions. Our office has also learned that individuals
      associated with these disruptions have contacted other agencies empowered to investigate this
      matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
      States Attorney's Office for the Northern District of Georgia, leaving this office as the sole
      agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
      result, our office has opened an investigation into any coordinated attempts to unlawfully alter
      the outcome of the 2020 elections in this state.

     We have made efforts to interview multiple witnesses and gather evidence, and a significant
     number of witnesses and prospective witnesses have refused to cooperate with the investigation
     absent a subpoena requiring their testimony. By way of exarn.ple,Georgia Secretary of State
     Brad Raffensperger, an essential witness to the investigation, has indicated that he will not
     participate in an interview or otherwise offer evidence until he is presented with a subpoena by
     my office. Please see Exhibit A, attached to this letter.

     Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
     to O.C.G.A. § 15-12-100et. seq., that a special purpose grand jury be impaneled for the purpose
     of investigating the facts and circumstances relating directly or indirectly to possible attempts to
     disrupt the lawful administration of the 2020 elections in the State of Georgia. Specifically, a
     special purpose grand jury, which will not have the authority to return an indictment but may
     make recommendations concerning criminal prosecution as it shall see fit, is needed for three
     reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
     required in order to accomplish its investigation, which will likely exceed a normal grand jury
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   tenn; second, the special purpose grand jurywould be empowered to reviewthismatter and this
   matter only, with an investigatory focus appropriate to the complexity of the facts and
   circumstances involved; and third, the sitting grand jury would not be required to attempt to
   address thls matter in addition to their normal duties.

   Additionally, I am requesting that, pursuant to 0.C.G.A. § 15-12-101, a Fulton County Superior
   Court Judge be assigned to assist and supervise the special purpose grand jury in carrying out its
   investigation and duties.

   r have attached a proposed order impaneling the special purpose grand jury for the consideration
   of the Court.

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 ~\A)~
~-:~-"~~
 ~mstrict Attorney, Atlanta Judicial Circuit

   Exhibit A: Transcript of October 31, 2021 episode of j\.;feetthe Press on NBC News at 26:04
   (video archived at https://www.youtube.com/watch?v-B7lcBRPgt9k)
   ExhibitB: ProposedOrder

  cc:
  The Honorable Kimberly M. Esmond Adams
  The Honorable Jane C. Barwick
  The Honorable Rachelle Carnesdale
  The Honorable Thomas A. Cox, Jr.
  The Honorable Eric Dunaway
  TheHonorable Charles M. Eaton, Jr.
  TheHonorable Belinda E. Edwards
  TheHonorable Kelly Lee Ellerbe
  TheHonorable Kevin M. Farmer
  The Honorable Ural Glanville
  TheHonorable Shakura L. Ingram
  The Honorable Rachel R. Krause
  The Honorable Melynee Leftridge
  TheHonorableRobert C.I. "NlcBumey
  The Honorable Henry M. Newkirk
  The Honorable Emily K. Richardson
  The Honorable Craig L. Schwall, Sr.
  The Honorable Paige Reese 'Whitaker
  The Honorable Shermela J. Williams
  Fulton County Clerk of Superior Court Cathelene "Tina" Robinson
